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                                                                               FILED
                                                                          IN OPEN COURT
               IN THE UNITED STATES DISTRICT COURT FOF THff

                        EASTERN DISTRICT OF VIRGINIA                     APR 2 3 2015

                               Richmond Division                   CLERK, U.S. DISTRICT COURT
                                                                      ALEXANDRIA, VIRGINIA

UNITED STATES OF AMERICA              No. 3:14crl40


                                      Count One, 18 U.S.C. § 2339A
          v.                          (Conspiracy To Provide Material Support to
                                      Terrorists)

IREKILGIZ HAMIDULLIN,                 Count Two, 18 U.S.C. § 2339A
                                      (Providing Material Support to Terrorists)
          Defendant
                                      Counts Three & Four, 18 U.S.C. §§ 32 & 2
                                      (Conspiracy & Attempt To Destroy an
                                      Aircraft of the Armed Forces of the United
                                      States)

                                      Counts Five through Seven, 18 U.S.C. §§1117,
                                      1114, & 2 (Conspiracy & Attempt To Kill an
                                      Officer or Employee of the United States or a
                                      Person Assisting Such Officer or
                                      Employee)

                                      Counts Eight through Ten, 18 U.S.C. §§ 2332(b)
                                      & 2 (Conspiracy & Attempt To Murder a
                                      National of the United States)

                                      Counts Eleven through Twelve, 18 U.S.C. §§ 2332(c)
                                      & 2 (Engaging in Physical Violence with Intent
                                      To Cause Serious Bodily Injury to a National
                                      of the United States)

                                      Count Thirteen, 18 U.S.C. § 2332a
                                      (Conspiracy To Use a Weapon of Mass Destruction)

                                      Counts Fourteen & Fifteen, 18 U.S.C. §§ 924(c) & (o)
                                      (Possession of & Conspiracy To Possess a Firearm in
                                      Connection with a Crime of Violence)

                      SECOND SUPERSEDING INDICTMENT

                         April 2015 Term - At Alexandria
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